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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 PETER LYOYA, as the                                 Case No. 22-cv-01160
 Personal Representative for                         Hon. Paul L. Maloney
 the Estate of PATRICK LYOYA,                        Mag. Judge Sally J. Berens


       Plaintiff,
 v.

 CHRISTOPHER SCHURR and
 THE CITY OF GRAND RAPIDS,

       Defendants.


 DEFENDANT SCHURR’S REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR
    A GAG ORDER LIMITING EXTRAJUDICIAL STATEMENTS BY THE PARTIES


                               COUNTER-ARGUMENT

       Plaintiff’s response fails to properly address the applicable legal standards

 governing gag order on parties. This reply corrects those misrepresentations and

 demonstrates why the narrowly tailored order requested is lawful, justified, and

 necessary to preserve the integrity of both this civil litigation and related criminal

 proceedings.

 I.    PLAINTIFF FAILS TO ADDRESS THE GOVERNING                       LAW,    INSTEAD
       MISCHARACTERIZING DEFENDANT’S LEGAL ARGUMENTS.

       A.       Plaintiff improperly relies on case law defining prior restraint.
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       Plaintiff cites just three cases in his Response: Alexander, Procter, and Co.

 Security Agency, but none of these discuss narrowly tailored speech limitations on

 the parties. Nor did Plaintiff explain how the three are related to this present case.

 Plaintiff never refuted the law put forth by Defendant that demonstrated gag orders

 on parties can be appropriate.

       Alexander v. United States, 509 U.S. 544 (1993), is a criminal case in which

 Ferris J. Alexander was convicted of obscenity and Racketeer Influenced and

 Corrupt Organizations Act (RICO) violations, resulting in the forfeiture of his adult

 entertainment businesses and nearly $9 million in assets. The Supreme Court held

 that this forfeiture did not constitute a prior restraint; rather it was a permissible

 criminal punishment for past acts. Id. at 544. Nothing in this case establishes that

 gag orders on parties are unconstitutional.

       Procter & Gamble Co. v. Bankers Trust Co., 78 F.3d 219 (1996), addressed

 whether a stipulation of the parties placing materials under seal would prohibit

 Business Week publishing documents. The court ruled that publishing documents

 did not pose a grave threat to a critical government interest or a threat to

 constitutional right. Instead the interest sought to be protected was the litigants’

 vanity and commercial self-interest. Id at 225.

       Plaintiff also cites to Co. Security Agency v. Ohio DOC, 296 F.3d 477 (6th

 Cir. 2002), where a private security firm and employer filed a civil rights action
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 against the Ohio Department of Commerce (ODC) after a freelanced journalist

 obtained from the ODC about the security guards. The trial court issued an

 injunction to prevent the journalist from disclosing this information, citing concerns

 that it could endanger the guards due to the tensions surrounding the labor dispute.

 Id. at 481. The court of appeals reversed this decision, finding plaintiff did not meet

 its burden justifying the restraint placed on the journalist prohibiting to publishing

 the information he obtained. Although the burden is heavy, it is not impossible to

 overcome when the restrained speech poses a grave threat to a constitutional right.

 Id. at 485-486.

       Collectively, Plaintiff’s cited cases demonstrate the courts are open to placing

 restrictions on speech when constitutional rights are at risk. A core constitutional

 right held by Chris Schurr is his 6th Amendment right to a fair and impartial jury

 deciding his criminal trial U.S. Const. amend. VI. The proposed gag order is worded

 to protect that right, and is supported as set forth in his motion. [ECF 54, PageID

 816-841]

       B.     The Plaintiff blatantly misstates the Defendant’s argument
              regarding unconstitutional restraint.

       The requested Order is not an attempt to silence the Plaintiff and his counsel

 entirely. It is a narrowly tailored remedy, designed to prevent statements that pose a

 substantial likelihood of materially prejudicing the jury. Plaintiff’s counsel knows

 precisely what these kinds of statements refer to, as evidenced by his recent refusal
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 to comment to News 8 regarding the trial. [Exhibit 10, WoodTV Article on April 22,

 2025]. His confusion over what constitutes “public” communication (press releases,

 interviews, social media posts) is disingenuous. He understands the scope; he just

 does not want to be held to it.

       Plaintiff’s Reply states that the Defendant has proposed an order allowing

 “[n]o communication of any kind with the public (however that is defined) or the

 media (presumably in any of the forms it may take) for an indefinite period of time.”

 [ECF 55, PageID. 905-906] This is incorrect. Defendant’s Motion defines the time

 window for restraint as the duration of these proceedings. It also expressly defines

 the limitations on communication to extend only to the parties on matters that

 concern the merits of this case and prevent the drawing of legal conclusions.

       The Motion makes quite clear as to what statements are and are not

 permissible. For example, on December 7, 2022, Plaintiff’s counsel held a press

 conference announcing the lawsuit against the City of Grand Rapids and Christopher

 Schurr and stated:

        “So what you have here, you have Patrick Lyoya, who is stopped for driving
       while black, and then as my great co-counsel attorney Ven Johnson said you
       have excessive force… So when you take driving while black plus excessive
       force, you end up with Patrick Lyoya being unjustly executed by this Grand
       Rapids police officer.” [Exhibit 11, Fox 17 Facebook Post]1


 1
  Exhibit 11 includes the automatic closed captions provided by the Facebook page.
 The captions contain transcription errors. Specifically, the word "plus" is mistakenly
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 Under the restriction in the Motion, Plaintiff’s counsel would still be able to hold a

 press conference and announce that a lawsuit had been filed. However, certain

 statements made in the conference would be prohibited under the Gag Order. For

 example, asserting that the Lyoya was stopped for “driving while black” attacks

 Defendant Schurr’s character and implied an unlawful intention, violating the

 Order’s ban on public commentary about a party’s character, credibility, or expected

 testimony. Similarly, claiming “excessive force” suggests a legal conclusion before

 the trial, which would be prohibited under the Order. Furthermore, claiming that

 Lyoya was “unjustly executed” is a legal conclusion that uses inflammatory

 language, which would also be restricted under the Order. Statements like these are

 precisely what the Order is meant to prevent. It would not prevent parties from

 announcing filings or providing updates on the current phase of the trial. But it would

 stop statements that are likely to prejudice the jury pool, or threaten the fairness of

 the trial.

        Plaintiff and his counsel’s repeated public commentary present a clear and

 substantial likelihood of prejudice to both this civil case and the related criminal

 proceeding. Their conduct is a deliberate effort to shape public opinion while

 proceedings are pending, with potential jurors being exposed to these narratives.



 rendered as "plastic", and the phrase "then as" is incorrectly transcribed as "there
 there’s".
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 Their behavior threatens the integrity of both cases. A gag order is necessary to

 mitigate these risks.

 II.   EXPEDITED CONSIDERATION IS WARRANTED UNDER THE PRESENT
       CIRCUMSTANCES AND THE TIMING OF THE MOTION IS THEREFORE
       JUSTIFIED.

       Plaintiff argues that the Defendant’s Motion for a Gag Order should be

 rejected for failure to comply with Local Rule 7.1(e). While not as direct as may

 have been more helpful, the motion stated that the criminal trial was set to begin on

 April 28th, and that Plaintiff’s counsel indicated he intended to make further

 statements about it. The motion specifically seeks to limit these comments due to

 their impact on not only the jury Defendant faces in that case, but ultimately in this

 case as well.

       Plaintiff also argues that the criminal trial is not related to this case. That is

 disingenuous. The criminal trial raises near identical criticisms as this case, but seeks

 to judge the conduct under different standards. Its impact on the case before this

 Court cannot be ignored. Moreover, there is a notable increase in Plaintiff’s counsel

 media engagement that appears strategically timed to coincide with the criminal

 proceedings. As of today, May 2, 2025, we have just received word that opposing

 counsel, Ben Crump, intends on holding a press conference today. Thus, expedited

 consideration of this motion is necessary due to the immediate impact that Plaintiff’s
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 media campaign is designed to have on Defendant’s ability to receive a fair trial

 anywhere. Jury selection in the criminal case began on April 21, 2025.

       Plaintiff also questions the timing of this motion. Yet, a glance at the docket

 should make the timing understandable. April 21st also marked the day that decision

 on Defendant’s petition to the U.S. Supreme Court would be (and was) announced,

 officially bringing back this case to this Court. The timing was no accident, and

 brought cause for Defendants to expedite consideration of the Motion for a Gag

 Order.

                                  CONCLUSION

       The Motion for a Gag Order Limiting Extrajudicial Statements should be

 granted. The Plaintiff’s and his counsel public commentary and media engagement

 pose a substantial risk of prejudicing the jury pool and compromising the integrity

 of both civil and related criminal proceedings. The requested Gag Order is narrowly

 tailored to address these concerns without infringing upon constitutional rights,

 ensuring the fairness of the judicial proceedings. Therefore, the motion should be

 granted.
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                                    Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE
       Consistent with LCivR 7.3(b)(ii), I, T. Joseph Seward, hereby certify that this

 brief complies with the restrictions as outlined in LCivR 7.3(b)(i). I further certify

 that the brief was prepared in Microsoft Word 365, which was used to generate the

 word count of 1,482 words, exclusive of those portions defined in LCivR 7.3(b)(i).


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                              PROOF OF SERVICE

       I hereby certify that on Friday, May 2, 2025, I electronically filed the
 foregoing document with the Clerk of the court using the ECF system, which will
 send notification to the following: All Parties and Attorneys of Record.

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